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 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
10
                                                 Case No. : 13-cv-02624-NC
11
     KANDIS ROBY,
12                                               Honorable Nathanael Cousins
                  Plaintiff,
13
            vs.                                  STIPULATION AND [PROPOSED]
14   PERFORMANT RECOVERY, INC.                   ORDER OF DISMISSAL WITH
     fka DIVERSIFIED COLLECTION                  PREJUDICE BETWEEN
15                                               PLAINTIFF AND DEFENDANTS
     SERVICES, INC.; and DOES 1 - 10,
16   inclusive,
17              Defendants.
18

19         Plaintiff, KANDIS ROBY, by counsel, and Defendant, PERFORMANT
20   RECOVERY, INC. fka DIVERSIFIED COLLECTION SERVICES, INC., by

21   counsel, hereby stipulate and agree that all matters herein between them have been

22   compromised and settled, and that Plaintiff’s cause against PERFORMANT

23
     RECOVERY, INC. fka DIVERSIFIED COLLECTION SERVICES, INC.; and

24
     DOES 1 - 10, inclusive, should be dismissed, with prejudice, with each party to
     bear their own costs and attorneys’ fees.
25




        STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE - 13-cv-02624-NC
             Case 3:13-cv-02624-NC Document 23 Filed 02/13/14 Page 2 of 3




 1   Respectfully submitted this 13th day of February, 2014,
 2

 3                                         By: /s/ G. Thomas Martin, III _
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11
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16
                                           PERFORMANT RECOVERY, INC.
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        STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE - 13-cv-02624-NC
             Case 3:13-cv-02624-NC Document 23 Filed 02/13/14 Page 3 of 3




 1                       UNITED STATES DISTRICT COURT
 2                    NORTHERN DISTRICT OF CALIFORNIA
 3
                                             Case No. : 13-cv-02624-NC
 4
     KANDIS ROBY,
 5                                           Honorable Nathanael Cousins
                 Plaintiff,
 6
            vs.                              [PROPOSED] ORDER
 7
     PERFORMANT RECOVERY, INC.               GRANTING STIPULATION OF
     fka DIVERSIFIED COLLECTION              DISMISSAL WITH PREJUDICE
 8                                           BETWEEN PLAINTIFF AND
     SERVICES, INC.; and DOES 1 - 10,        DEFENDANTS
 9   inclusive,
10             Defendants.
11

12                                [PROPOSED] ORDER
13         PURSUANT TO STIPULATION, IT IS SO ORDERED that all claims of
14   Plaintiff KANDIS ROBY against Defendant PERFORMANT RECOVERY, INC.
15   fka DIVERSIFIED COLLECTION SERVICES, INC.; and DOES 1 - 10,
16   inclusive, are dismissed, with prejudice. Plaintiff KANDIS ROBY and Defendant
17   PERFORMANT RECOVERY, INC. fka DIVERSIFIED COLLECTION
18   SERVICES, INC. shall each bear their own costs and attorneys’ fees.
19   IT IS SO ORDERED.
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     DATED:__________________
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21           February 13, 2014
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                                                                                         R NIA




23
                                           District Court Judge
                                           Northern District of California
                                                                             . Cousins
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24
                                                        Judge Na
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        STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE - 13-cv-02624-NC
